                                                       140 Nev., Advance Opinion 53
                       IN THE SUPREME COURT OF THE STATE OF NEVADA


                PHWLV, LLC, D/B/A PLANET                              No. 85413
                HOLLYWOOD RESORT AND CASINO,
                A/K/A PLANET HOLLYWOOD LAS
                VEGAS RESORT AND CASINO,
                Appellant,                                                FILED
                vs.
                HOUSE OF CB USA, LLC: AND                                 AUG 2 2 2G2L
                CHINESE LAUNDRY LIFESTYLE,                               ELI    B    H A. BRCA.
                                                                      CLER          UP    ME C
                LLC,
                                                                               EF DEPUTY CLERK
                Respondents.



                           Appeal from a judgment and post-judgment orders after a jury
                trial in a tort action for property damage. Eighth Judicial District Court,

                Clark County; Joanna Kishner, Judge.
                            Reversed i,n part, vacated in part, and remanded.


                Lemons, Grundy &amp; Eisenberg and Robert L. Eisenberg, Reno; Wood, Smith,
                Henning &amp; Berman and Joel D. Odou and Susana Santana, Las Vegas,
                for Appellant PHWLV, LLC.

                Marquis Aurbach Chtd. and Christian T. Balducci and Jordan W. Montet,
                Las Vegas,
                for Respondent House of CB USA, LLC.

                Marquiz Law Office, P.C., and Craig A. Marquiz, Henderson,
                for Respondent Chinese Laundry Lifestyle, LLC.




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                BEFORE THE SUPREME COURT, HERNDON, LEE, and BELL, JJ.


                                                  OPINION

                By the Court, HERNDON, J.:
                            This appeal requires us to consider the duty owed by a
                commercial property owner to tenants in that commercial property,
                specifically with respect to the maintenance of the property owner's internal
                fire-suppression system and the property owner's response to issues arising
                from a failure within that system. Appellant PHWLV, LLC. operates Planet
                Hollywood Resort and Casino and the Miracle Mile Shops in Las Vegas.
                Respondents, retailers House of CB USA, LLC, and Chinese Laundry
                Lifestyle, LLC, leased commercial space at the Miracle Mile Shops. After
                sustaining damage to their stores and inventories when a water pipe in
                PHWLV's fire-suppression system burst, the retailers sued PHWLV for
                negligence in maintaining the fire-suppression system. Before trial, the
                district court granted partial summary judgment on the elements of duty
                and breach, concluding that property owners have a duty to prevent items
                on their property from damaging another's property, which duty PHWLV
                had breached. The case proceeded to a jury trial solely on causation and
                darnages, and the jury ultimately returned a verdict in favor of the retailers.
                            We conclude that the district court erred in its formulation of
                PHWLV's duty at the summary-judgment stage. Under the facts of this
                case, the appropriate standard of care for PHWLV is the duty to use
                reasonable care in servicing and inspecting the fire-suppression system, and
                                                                                           W e
                in responding to issues arising from failures within the system.
                therefore reverse the district court's judgment on the jury verdict and order
                denying a new trial, vacate the district court's post-judgment orders
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                awarding attorney fees and prejudgment interest, and remand for
                proceedings consistent with this opinion.
                                              BACKGROUND
                            PHWLV owns and operates the Planet Hollywood Resort and
                Casino, a resort on the Las Vegas Strip. It also operates the Miracle Mile
                Shops, a retail shopping mall adjacent to the resort. The mall leased space
                to Chinese Laundry, a footwear retailer, and House of CB, a clothing
                retailer. PHWLV maintained a fire-suppression system above the retailers'
                stores and the rest of the mall.
                            Witnesses at trial testified to the following events: On July 8,
                2017, a pressurized fire-suppression pipe separated from another pipe at its
                coupling. Water escaped the system through that separation and flooded a
                service corridor within Planet Hollywood before leaking into the resort and
                mall. About two hours after the pipe separation, PHWLV's employees and
                contractors were able to shut off the flow of water.     The water caused
                immense damage to the resort, mall, and the retailers' physical store space
                and inventory.
                            The retailers sued PHWLV for negligence. After discovery, they
                moved for partial summary judgment on their claims against PHWLV. The
                district court granted the motion, finding that there was no genuine dispute
                over the elements of duty or breach. It found "a legal duty imposed on
                property owners to ensure that whatever is on a person's property does not
                invade or otherwise damage the property of another." It also found that
                PHWLV breached that duty, as the water on its property invaded and
                damaged the retailers' property. The parties proceeded to a jury trial on
                the elements of causation and damages.       At the close of evidence, the
                retailers moved for a directed verdict on the element of causation, which the
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                district court granted. The jury decided only the extent of damages suffered
                by the retailers.   It awarded House of CB $3,133,755.56 and Chinese
                Laundry $411,581.41.      Thereafter, PHWLV moved for a new trial or,
                alternatively, for remittitur of the jury award. The district court denied the
                motion and entered judgment on the jury verdict. It also granted in part
                House of CB's motion for attorney fees and prejudgment interest. PHWLV
                appeals each of the district court's orders.
                                                DISCUSSION
                The district court erred in granting summary judgment to the retailers
                            PHWLV challenges the district court's award of partial
                summary judgment to the retailers.         It argues that the district court
                imposed a strict-liability standard by improperly defining PHWLV's duty
                and finding breach as a matter of law.
                            As an initial matter, the retailers argue that PHWLV failed to
                assert these arguments before the district court. "A point not urged in the
                trial court, unless it goes to the jurisdiction of that court, is deemed to have
                been waived and will not be considered on appeal." Old Aztec Mine, Inc. v.
                Brown, 97 Nev. 49, 52, 623 P.2d 981, 983 (1981). We conclude that PHWLV
                did not waive its arguments with respect to the grant of partial summary
                judgment.    PHWLV opposed the retailers' motion for partial summary
                judgment on the same substantive grounds that it pursues on appeal. It
                also used the language of strict liability in its supplemental briefing.
                Therefore, PHWLV adequately raised its arguments in the trial court such
                that they are not waived on appeal.
                            We review the district court's decision to grant summary
                judgment de novo. Wood v. Safeway, Inc.. 121 Nev. 724, 729, 121 P.3d 1026,
                1029 (2005). "A claim for negligence in Nevada requires that the plaintiff

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satisfy four elements: (1) an existing duty of care, (2) breach, (3) legal
causation, and (4) damages." Turner v. Mandalay Sports Ent., LLC, 124
Nev. 213, 217, 180 P.3d 1172, 1175 (2008). In this case, we must consider
whether PHWLV owed a duty to the retailers, the scope of any such duty,
and whether PHWLV breached the duty owed to the retailers.
            We begin with the first issue: whether PHWLV owed a duty to
the retailers. In doing so, we consider "whether 'such a relation exists
between the parties that the community will impose a legal obligation upon
one for the benefit of the other." Lee v. GNLV Corp., 117 Nev. 291, 295, 22
P.3d 209, 212 (2001) (quoting W. Page Keeton et al., Prosser and Keeton on
the Law of Torts, § 37, at 236 (5th ed. 1984)). We have adopted the principle
that "landowners bear a general duty of reasonable care to all entrants."
Foster v. Costco Wholesale Corp., 128 Nev. 773, 781, 291 P.3d 150, 156
(2012); see also Moody v. Manny's Auto Repair, 1.10 Nev. 320, 333, 871 P.2d
935, 943 (1994) (ID]eterminations of liability should primarily depend upon
whether the owner or occupier of land acted reasonably under the
circumstances.").
            We hold that PHWLV and the retailers had such a relation that
the community imposes a legal obligation on PHWLV for the benefit of the
retailers. This is because PHWLV owned and occupied the land, while the
retailers were entrants on that land.        PHWLV controlled the fire-
suppression system, the premises on which the system was located, and the
mall itself. The system under its control malfunctioned, creating a risk of
damage to the retailers in the mall. This approach accords with the modern
trend of defining a landowner's duty of reasonable care under the
circumstances. See Restatement (Third) of Torts: Phys. &amp; Emot. Harm § 51
cmt. heading (Am. Law Inst. 2012) (stating that "a land possessor owes a



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                duty of reasonable care to entrants on the land" regarding either its own
                conduct or "artificial conditions on the land," when such conduct poses risk
                to the entrants). Therefore, PHWLV owed a duty to exercise reasonable
                care under the circumstances to the retailers.
                            Second, we must determine the scope of the duty that PHWLV
                owed to the retailers. "The law is clear that if a legal duty exists, reasonable
                care under the circumstances must be exercised." Lee, 117 Nev. at 296. 22
                P.3d at 212. "The duty issue must be analyzed with regard to foreseeability
                and gravity of harm, and the feasibility and availability of alternative
                conduct that would have prevented the harm." Foster, 128 Nev. at 781, 291
                P.3d at 156 (internal quotation marks omitted). PHWLV owed the retailers
                the duty to exercise reasonable care under the circumstances. This duty
                extends to multiple sets of circumstances.         The duty extends to the
                servicing, maintenance, and inspection of the fire-suppression system. The
                duty extends to the implementation of procedures that govern failures
                within the system, like a possible pipe separation. And the duty extends to
                PHWLV's reaction to the pipe separation on July 8, 2017.
                            Because we limit the scope of PHWLV's duty to the use of
                reasonable care, we conclude that the district court erred by describing
                PHWLV's duty in absolute terms. Its formulation of PHWLV's duty lacks
                the crucial principles underlying our negligence jurisprudence: either the
                exercise of reasonable care or the consideration of the circumstances
                necessitating reasonable care. Instead, the district court seemed to impose
                strict liability on property owners to control what is on their property. An
                absolute standard omits the inquiry as to whether the property owner
                exercised reasonable care in their control of what is on their property. But
                Nevada law requires such an inquiry. See id. We thus hold that PHWLV
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                owed the duty to exercise reasonable care under the circumstances and that
                the district court erred by expanding that duty.
                            Third, we cannot determine whether PHWLV exercised
                reasonable care under the circumstances (i.e., whether it breached its duty).
                This case-specific determination should be determined by the jury. See Lee,
                117 Nev. at 296, 22 P.3d at 212 ("Whether a defendant's conduct was
                reasonable under a given set of facts is generally an issue for the jury to
                decide." (internal quotation marks omitted)). In so determining, the jury
                must resolve two questions: first, whether PHWLV breached its duty of
                reasonable care by not properly maintaining the system; and second,
                whether PHWLV breached its duty when responding to the incident.
                            We conclude that the retailers were not entitled to partial
                summary judgment under the district court's erroneous theory of PHWLV's
                duty. As a result, we conclude that the district court erred in granting
                partial summary judgment in favor of the retailers.
                The district court's error marred the subsequent proceedings
                            The district court's error in granting partial summary judgment
                to the retailers manifested itself throughout the remainder of the litigation.
                As counsel for House of CB conceded at oral argument before this court, any
                error in the district court's formulation of PHWLV's duty would
                contaminate the trial proceedings and jury verdict.
                            For example, the district court granted the retailers' motion for
                a directed verdict on the element of causation. But it found causation based
                on the incorrect description of PHWLV's duty. It is clear the water that
                escaped from PHWLV's fire-suppression system caused damage to the
                retailers. However, as the parties did not have to address whether PHWLV
                exercised reasonable care under the circumstances, causation became
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                                           ••••,7;1.11-.
                indisputable.   Similarly, the jury found damages resulting from that
                imposition of causation, and the district court awarded attorney fees
                resulting from the jury verdict. When a negligence case is built upon an
                incorrect formulation of the defendant's duty, everything that occurs
                thereafter will necessarily be tainted. Based on the errors described above,
                we reverse the district court's judgment and vacate the district court's post-
                judgment order granting attorney fees and prejudgment interest.1
                The district court erred by denying PHWLV's motion for a new trial
                            PHWLV argues that the district court erred by denying its
                motion for a new trial pursuant to NRCP 59. We review a district court's
                decision on a motion for a new trial for an abuse of discretion. Nelson v.
                Heer, 123 Nev. 217, 223, 163 P.3d 420, 424-25 (2007). "While review for
                abuse of discretion is ordinarily deferential, deference is not owed to legal
                error." AA Primo Builders, LLC v. Washington, 126 Nev. 578, 589, 245 P.3d
                1190, 1197 (2010). A district court may grant a new trial when an error in
                law occurred at the trial and that error was objected to by the party making
                the motion for the new trial. NRCP 59(a)(1)(G).
                            For the reasons we have stated above, the district court's error
                in defining PHWLV's duty constituted an error in law. PHWLV objected to
                that error during its opposition to the retailers' motions for summary
                judgment and adequately demonstrated grounds for a new trial. Therefore,
                we conclude that the district court erred denying PHWLV's motion for a
                new trial and reverse its order.




                      'Given our conclusion, we need not address the issue of damages.

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                  PHWLV has not shown that reassignrnent is necessary
                              PHWLV requests that this case be transferred from the
                  assigned   judge   to   a   different   judicial   department   upon   remand.

                  Reassignment may be appropriate when a trial court, whether consciously

                  or unconsciously, "undermined [the] plaintiffs case and cannot fairly deal
                  with the matters involved." Wickliffe v. Sunrise Hosp., Inc., 104 Nev. 777,
                  783, 766 P.2d 1322, 1326 (1988). PHWLV argues that the assigned judge
                  undermined its case by making multiple adverse rulings against it. It also

                  argues that the assigned judge heard inadmissible or inappropriate
                  evidence regarding the retailers' damages calculations. But PHWLV does
                  not identify any specific evidence that the assigned judge heard that should
                  have been excluded. Nor does PHWLV explain how adverse rulings—all of
                  which seemingly flow from a single error regarding the scope of the duty
                  owed—constitute a display of partiality. As a result, we deny PHWLV's

                  request to reassign this case to a different judicial department.
                                                  CONCLUSION
                              The district court erroneously described the breadth of the duty
                  that PHWLV owed to the retailers. This error was compounded as the court
                  applied that duty to the other elements of negligence. We hold that PHWLV
                  owed the retailers the duty to use reasonable care, both in maintaining the
                  fire-suppression system and in responding to the events caused by the
                  system. Accordingly, we reverse the district court judgment on the jury




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                verdict, reverse the district court order denying the motion for a new trial,
                vacate the district court order awarding attorney fees and interest, and
                remand this rnatter for a new trial.



                                                                                   J.
                                                     Herndo


                We concur:


                                                j.

                Lee


                                                J.
                Bell




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